        Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 1 of 7 PageID #: 2953
AO 245B (Rev. 09/19)   Rev. EDNY 2/1/2021 Jiidgmenl in a Criminal Case
                       Sheet 1




                                          United States District Court
                                                            Eastern District of New York

              UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                  V.


                       JOHN SIMONLACAJ                                                   Case Number:           1:19-cr-00575-AMD-10

                                                                                         USM Number: 77744-054

                                                                                          Glenn Charles Cqlton - Retamec^
                                                                                         Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to count(s)          21 of the Indictment

□ pleaded nolo contendere to count(s)
  which was accepted by the court.
□ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                                   Offense Ended          Count

26 U.S.0. §7206                   Filing A False Tax Return                                                          3/15/2019             21




       The defendant is sentenced as provided in pages 2 through                                 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)

2] Count(s)       All open counts                          □ is          21 are dismissed on the motion of the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
ormailing address until all fines, restitution, costs, and special assessments imposedby this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                   6/22/2021
                                                                               DalAof InipoMion of.I


                                                                                     s/Ann M. Donnelly
                                                                               Signatiire of Judge




                                                                                            Ann M. Donnelly, United States District Judge
                                                                               Name and Title of Judge
         Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 2 of 7 PageID #: 2954
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                      Judgment — Page      of

DEFENDANT:             JOHN SIMONLACAJ
CASE NUMBER:              1:19-cr-00575-AMD-10


                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
                 Four(4) months.




      2] The court makes the following recommendations to the Bureau of Prisons:
           that the defendant be designated to FCI Otisvllle.




      □ The defendant is remanded to the custody of the United States Marshal.

      □ The defendant shall surrender to the United States Marshal for this district:

          □ at                                     □ a.m.      □ p.m.         on
          □ as notified by the United States Marshal.

      23 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          Bf before 2 p.m. on          8/17/2021                         •
          □ as notified by the United States Marshal.
          □ as notified by the Probation or Pretrial Services Office.



                                                                  RETURN

1 have executed this judgment as follows:




          Defendant delivered on                                                         to


at                                                  , with a certified copy of this Judgment.



                                                                                                   UNITED STATES MARSHAL




                                                                             By
                                                                                                DEPUTY UNITED STATES MARSHAL
           Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 3 of 7 PageID #: 2955

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                          Judgment—Page          of
DEFENDANT: JOHN SIMONLACAJ
CASE NUMBER: 1:19-cr-00575-AMD-10
                                                         SUPERVISED RELEASE

upon release from imprisonment, you will be on supervised release for a term of:
 One (1) year




                                                     MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               □ The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse, (check ifapplicable)
4.       □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (check ifapplicable)
5.          You must cooperate in the collection of DNA as directed by the probation officer, (check ifapplicable)
6.       □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
7.       □ You must participate in an approved program for domestic violence, (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
       Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 4 of 7 PageID #: 2956
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4        of
DEFENDANT: JOHN SIMONLACAJ
CASE NUMBER: 1:19-cr-00575-AMD-10


                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal Judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your Job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines based on your criminal record, personal history and characteristics, and the nature and
    circumstances of your offense, you pose a risk to another person (including an organization), the probation officer, with prior approval
    ofthe Court, may require you to notify the person about the risk and you must comply with that instruction. The probation officer
    may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
        Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 5 of 7 PageID #: 2957
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                            Judgment—Page          of
DEFENDANT: JOHN SIMONLACAJ
CASE NUMBER: 1:19-cr-00575-AMD-10


                                          SPECIAL CONDITIONS OF SUPERVISION
- The defendant shall fully cooperate with the Internal Revenue Service by timely and accurately filing ail future returns that
come due during the period of supervision. The defendant shali properly report all correct taxable income and claim only
allowable expenses on those returns. The defendant shall provide all appropriate documentation in support of said
retums. Upon request, the defendant shail furnish the Internal Revenue Service with information pertaining to ali assets
and liabiiities, and the defendant shall fully cooperate by paying ali taxes, interest and penaities due and otherwise comply
 with the tax laws of the United States.

-The defendant is not to associate with know members of organized crime beings, with the exception of his cousin and
co-defendant Mark Kocaj.
        Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 6 of 7 PageID #: 2958
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       6    of
DEFENDANT: JOHN SIMONLACAJ
CASE NUMBER: 1:19-cr-00575-AMD-10
                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                Restitution              Fine                  AVAA Assessment*            JVTA Assessment**
TOTALS            $ 100.00                 $                       $ 20,000.00            $                           $


 □ The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.


 □ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                                                                                                       jpecifiec otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 u.S.C. § 3664(j), all nonfederal victii
                                                                                                                     victims must be paid
     before the United States is paid.

Name of Payee                                                  Total Loss***              Restitution Ordered         Priority or Percentage




TOTALS                              $                           0.00           $                    0.00


□     Restitution amount ordered pursuant to plea agreement $

□     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      □ the interest requirement is waived for the             □ fine    □ restitution.

      □ the interest requirement for the           □    fine    □ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims or Trafficking Act of2015. Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23,1996.
        Case 1:19-cr-00575-AMD-RLM Document 322 Filed 06/29/21 Page 7 of 7 PageID #: 2959
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                                Judgment — Page             of         _7__^
DEFENDANT: JOHN SIMONLACAJ
CASE NUMBER: 1:19-cr-00575-AMD-10


                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of$           100.00                due immediately, balance due

            □     not later than                                      , or
                  in accordance with □ C,            □ D,        □    E, or      gj F below; or

 B    □     Payment to begin immediately (may be combined with                DC,         □ D, or       □ F below); or

C     □     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    □     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     □     Payment during the term of supervised release will commence within                              (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     21    Special instructions regarding the payment of criminal monetary penalties:
            The fine amount of $20,000.00 must be paid by July 6, 2021.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



□     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                      Joint and Several                Corresponding Payee,
      (including defendant number)                          Total Amount                         Amount                          if appropriate




□     The defendant shall pay the cost of prosecution.

□     The defendant shall pay the following court cost(s):

□     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be ^plied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
